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UNITED STATES DISTRICT COURT AUG 1 0 2021

FOR THE DISTRICT OF RHODE ISLAND U.S. DISTRICT COURT

CHRISTOPHER LACCINOLE DISTRICT OF RL.

Plaintiff

Vs. CA. NO.: 1:21-cv-00090-WES-LDA

Global Payments Check Services, LLC,
&

DOES 1-10, inclusive

Defendants

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
Plaintiff voluntarily dismisses the instant matter pursuant to Fed.R.Civ.P. 41(a)(1)(A)().

The Plaintiff,
Christopher Laccinole, pro se

/s/ Christopher Laccinole
Christopher M. Laccinole

23 Othmar St.
Narragansett, RI 02882

chrislaccinole@gmail.com
CERTIFICATE OF SERVICE

Plaintiff certifies that on August 5, 2021 he mailed a copy of the foregoing notice to Defense
Counsel Jeffrey C. Ankrom via USPS first class certified mail, return receipt requested at
Locke Lord LLP, 2800 Financial Plaza, Providence, RI 02903.

The Plaintiff,
Christopher Laccinole, pro se

/s/ Christopher Laccinole
Christopher M. Laccinole

23 Othmar St.
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chrislaccinole@gmail.com

 

 
Case 1:21-cv-00090-WES-LDA Document 22 Filed 08/10/21 Page 2 of 2 PagelD #: 429

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

CHRISTOPHER LACCINOLE
Plaintiff C.A. NO.: 1:21-cv-00226-MSM-PAS

Vs.

Pennsylvania Higher Education
Assistance Agency,

&

DOES 1-10, inclusive
Defendants

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
Plaintiff voluntarily dismisses the instant matter pursuant to Fed.R.Civ.P. 41(a)(1)(A)Q).

The Plaintiff,
Christopher Laccinole, pro se

/s/ Christopher Laccinole
Christopher M. Laccinole

23 Othmar St.
Narragansett, RI 02882
chrislaccinole@gmail.com

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The Plaintiff,
Christopher Laccinole, pro se

/s/ Christopher Laccinole
Christopher M. Laccinole

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